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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   ORACLE AMERICA, INC.,
                                                                         10                  Plaintiff,                                      No. C 10-03561 WHA
                                                                         11
United States District Court




                                                                                v.
                               For the Northern District of California




                                                                         12   GOOGLE INC.,                                                   ORDER SETTING
                                                                         13                                                                  HEARING ON
                                                                                             Defendant.                                      DEFENDANT’S
                                                                         14                                                  /               DISCOVERY DISPUTE

                                                                         15          Defendant’s discovery dispute letter brief is acknowledged. The discovery issues raised
                                                                         16   by defendant shall be addressed at the same time as those raised by plaintiff. The parties shall
                                                                         17   meet-and-confer in the Court’s jury room starting from 8:00 A.M. AND ENDING AT 11:00 A.M. ON
                                                                         18   WEDNESDAY, FEBRUARY 9, 2011. At 11:00 a.m., the Court shall hold a hearing to resolve any
                                                                         19   and all remaining discovery issue(s). Please note that only those lawyers who personally
                                                                         20   participate in the meet-and-confer in the Court’s jury room may be heard at the discovery hearing.
                                                                         21          Plaintiff may file a responsive letter brief, not to exceed three pages, by NOON ON
                                                                         22   FEBRUARY 7, 2011.
                                                                         23
                                                                         24          IT IS SO ORDERED.
                                                                         25
                                                                         26   Dated: February 3, 2011.
                                                                         27                                                       WILLIAM ALSUP
                                                                                                                                  UNITED STATES DISTRICT JUDGE
                                                                         28
